
825 So.2d 1200 (2002)
Ernest &amp; Evelyn SINGLETON, William Singleton, Jr., Perry Smith, Brenda Henderson, Individually and on Behalf of Her Minor Children, Mikila and Keith Henderson, Mandalay Properties, LLS, Anthony J. Guarisco, Jr., Marilyn G. Vinson, Terry D. Guarisco, Sr., Individually and as Representatives of All Those Similarly Situated
v.
NORTHFIELD INSURANCE COMPANY, the Lumbermen's Mutual Casualty Company, Texas Meridian Production Corporation, the Meridan Resource &amp; Exploration Company, George Smith, George Craig, Kurt D. Byth, Patterson Services, Inc. Reliance Insurance Company, Commercial Underwriters Insurance Company and Petroleum Professionals International, Inc.
No. 2002-C-1660.
Supreme Court of Louisiana.
September 30, 2002.
*1201 Denied.
